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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

BRUCE KATZ, M.D., P.C., individually and Case No. 1-21-cv-06969-AJN

on behalf of all others similarly situated,

Plaintiff,

Vv.

CAROLINA LIQUID CHEMISTRIES

CORPORATION,

Defendant.

 

 

STIPULATION OF DISMISSAL WITH PREJUDICE

The parties file this Stipulation of Dismissal with prejudice pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii) with each party to bear their own costs. The putative class claims are dismissed

without prejudice.

Dated: February 9, 2022

PLAINTIFF,

Anthony I. Paronich (Pro Hac Vice)
Paronich Law, P.C.

350 Lincoln Street, Suite 2400
Hingham, MA 02043

(508) 221-1510
anthony@paronichlaw.com

 

DEFENDANT,

By: Hath C. biti. ;

WALTER C. HOLTON, JR. (Pro Hac Vice)
HOLTON LAW FIRM, PLLC

857 W. Fifth Street

Winston-Salem, NC 27101
wholton@walterholton.com

 
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Telephone: 336-777-3480
Facsimile: 336-722-3478

CERTIFICATE OF SERVICE
[hereby certify that on February 9, 2022, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by email to all parties by operation of the court’s electronic filing system.

/s/ Anthony I. Paronich
Anthony I. Paronich
